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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK




UNITED STATES OF AMERICA,


                     v.                                   DECISION AND ORDER
                                                                02-CR-073A

MARK CONGI,

                                   Defendant.




                                     INTRODUCTION

              On June 22, 2005, the government filed a motion pursuant to 18 U.S.C. §

3148(b), requesting revocation of defendant Mark Congi’s pretrial release. The

government claims the defendant violated the terms and conditions of his pretrial

release by: (1) committing a state and federal crime while on pretrial release; and (2)

contacting some of his codefendants notwithstanding an express prohibition against

doing so. On June 28, 2005, defendant and his counsel appeared before the Court

pursuant to a summons. The Court set a date for a revocation hearing and amended

defendant’s terms and conditions of release by adding a reporting requirement and a

6:00 p.m. to 6:00 a.m. curfew with electronic monitoring. The Court also instructed the

defendant not to have any contact with potential witnesses or his codefendants.

              On July 26, 2005, the Court held a revocation hearing. Despite the

defendant’s objections, the government proceeded by way of proffer.

              Trial in this case is currently scheduled for September 7, 2005.
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              After reviewing the submissions of the parties, considering the evidence

proffered at the hearing, and hearing argument from counsel, the Court grants the

government’s motion for revocation of defendant’s release.




                                    FINDINGS OF FACT 1

              On May 23, 2002, the defendant, Mark Congi, was released on his own

recognizance following his arrest in the above-captioned case. Among the conditions of

his release, the defendant was to “avoid all contact, directly or indirectly, with any

persons who are or who may become a victim or potential witness in the subject

investigation or prosecution, including but not limited to: as named in Indictment, without

counsel present, & other than necessary for employment.” Both the defendant and his

counsel stated that they understood this condition to mean that the defendant could not

contact his codefendants without counsel present. See Item No. 564 at 116-17, 121;

see also Government Hearing Exhibits 1, 3 and 4. Another condition of release was

that the defendant “not commit any offense in violation of federal, state or local law

while on release in this case.”

              Codefendant Anthony Cerrone has recently commenced cooperation with

the government and has told law enforcement officials that in approximately December

2004, just before Cerrone’s scheduled trial in this case, he was given a message by the

secretary at Local 91 to contact defendant Congi (the secretary confirms that Congi

asked her to give such a message to Cerrone). W hen Cerrone did eventually speak



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              The Court presumes knowledge of the underlying allegations in this case.

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with Congi, Congi told Cerrone not to cooperate with the government and that “it will all

work out.”

              Codefendant Andrew Shomers is also cooperating with the government.

He has told law enforcement officials that Congi contacted him on multiple occasions

while they were both on pretrial release and urged him not to cooperate with the

government.

              Shomers has also told law enforcement agents that after newly-appointed

officers took over the leadership of Local 91 following the Indictment in this case, Congi

contacted him and directed him to go to the homes of newly-appointed officers and

damage their vehicles by slashing their tires. Shomers refused. However, Congi later

told Shomers that he was able to get two other Local 91 members to slash the tires at

his request. The government has proffered that it has interviewed the other Local 91

members allegedly involved and they have confirmed that they, along with a third

person, did in fact slash the tires of three newly-appointed officers at Congi’s request.

See also Government Hearing Exhibits 5, 6 and 7.

              Codefendant Andrew Tomasik has told investigators that in approximately

May 2005, after he had visited the United States Attorney’s Office on official business,

defendant Congi approached him at a job site where he was working and attempted to

speak with him, even though Congi had no legitimate purpose for being at the job site.

Tomasik refused to speak with Congi. Tomasik stated that after that visit, Congi

periodically visited Tomasik’s job site, even though he had no legitimate reason to do

so.



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                                   CONCLUSIONS OF LAW

               Revocation of pretrial release is governed by 18 U.S.C. § 3148(b), which

provides as follows:

       Revocation of release.--The attorney for the Government may initiate a
       proceeding for revocation of an order of release by filing a motion with the
       district court. A judicial officer may issue a warrant for the arrest of a
       person charged with violating a condition of release, and the person shall
       be brought before a judicial officer in the district in which such person's
       arrest was ordered for a proceeding in accordance with this section. To
       the extent practicable, a person charged with violating the condition of
       release that such person not commit a Federal, State, or local crime
       during the period of release, shall be brought before the judicial officer
       who ordered the release and whose order is alleged to have been
       violated. The judicial officer shall enter an order of revocation and
       detention if, after a hearing, the judicial officer–

       (1) finds that there is--

       (A) probable cause to believe that the person has committed a Federal,
       State, or local crime while on release; or

       (B) clear and convincing evidence that the person has violated any other
       condition of release; and

       (2) finds that--

       (A) based on the factors set forth in section 3142(g) of this title, there is no
       condition or combination of conditions of release that will assure that the
       person will not flee or pose a danger to the safety of any other person or
       the community; or

       (B) the person is unlikely to abide by any condition or combination of
       conditions of release.

       If there is probable cause to believe that, while on release, the person
       committed a Federal, State, or local felony, a rebuttable presumption
       arises that no condition or combination of conditions will assure that the
       person will not pose a danger to the safety of any other person or the
       community. If the judicial officer finds that there are conditions of release
       that will assure that the person will not flee or pose a danger to the safety
       of any other person or the community, and that the person will abide by


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       such conditions, the judicial officer shall treat the person in accordance
       with the provisions of section 3142 of this title and may amend the
       conditions of release accordingly.

               Here, the Court finds that there is probable cause to believe that while on

release, the defendant committed the state crime of Criminal Mischief in the Third

Degree, a class E felony.2 N.Y. Penal Law § 145.05 provides as follows:

       A person is guilty of criminal mischief in the third degree where with intent
       to damage property of another person, and having no right to do so nor
       any reasonable ground to believe that he has such right, he damages
       property of another person in an amount exceeding two hundred fifty
       dollars.

               The defendant caused others to slash the tires of three newly-appointed

officers of Local 91. In at least one of those instances, the tires were valued in excess

of $250. See Government Hearing Exhibit 6.

               The Court further finds that there is clear and convincing evidence that

defendant violated the condition of pretrial release prohibiting him from contacting his

codefendants without counsel present. Defendant contacted Anthony Cerrone and

Andrew Shomers in violation of this condition. He also attempted to contact Andrew

Tomasik.

               Because the Court finds probable cause to believe that the defendant,

while on release, committed a state felony, to wit, a violation of N.Y. Penal Law §

145.05, there is a rebuttable presumption that no condition or combination of conditions

will assure that the defendant will not pose a danger to the safety of any person or the

community. Defendant Congi has failed to rebut this presumption.


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                The Court makes no finding with regard to the government’s allegation of witness
tampering in violation of 18 U.S.C. § 1512.

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              Even without the presumption, the Court would find that there is no

condition or combination of conditions that will assure that the defendant will not pose a

danger to the safety of the community if released. As stated above, defendant has

contacted other codefendants both directly and through third persons in violation of the

Court’s release order. He has also been able to induce third parties to commit crimes to

retaliate or send a message to other members of Local 91. Even home detention would

not provide an adequate safeguard in this case. W ith the availability today of cell

phones and the Internet, it would be almost impossible for the Court to fashion

conditions of release that would adequately ensure that the defendant could not contact

witnesses and codefendants, and could not order or induce others to commit crimes on

his behalf.




                                       CONCLUSION

              For the reasons stated, the Court hereby grants the government’s motion

to revoke defendant’s release and orders that the defendant be detained until the

completion of his trial. Defendant shall surrender himself to the United States Marshal’s

Office in Buffalo, New York no later than Friday, August 5, 2005 at 10:00 a.m.

Defendant shall be committed to the custody of the Attorney General for confinement in

a corrections facility separate, to the extent practicable, from persons awaiting or

serving sentences or being held in custody pending appeal. Defendant shall be

afforded reasonable opportunity for private consultation with counsel. On order of the

Court or on request of an attorney for the government, the person in charge of the

corrections facility in which defendant is confined shall deliver defendant to a United

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States Marshal for the purpose of an appearance in connection with any court

proceeding.

              IT IS SO ORDERED.

                                         /s/ Richard J. Arcara
                                         _______________________________
                                         HONORABLE RICHARD J. ARCARA
                                         CHIEF JUDGE
                                         UNITED STATES DISTRICT COURT

Dated: August    2 , 2005




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